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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                                                                               FILED
                             BUTTE DIVISION                                    NOV 2 1 2016
                                                                            Clerk, u.s . .
                                                                              District o~~tnct Court
 UNITED STATES OF AMERICA,                           CR 16-17-BU-DLC               Missou/~ntana

                       Plaintiff,
                                                     FINDINGS AND
        vs.                                        RECOMMENDATION
                                                   CONCERNING PLEA
 LESTER DEAN OXENDINE,

                       Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiring to possess

methamphetamine with the intent to distribute in violation of 21 U.S.C. §§

841(a)(l) and 846 (Count I), and one count of the possession of a firearm in

furtherance of a drug trafficking crime in violation of 18 U.S.C. § 924(c)(l)(A)

(Count II), all as set forth in the Superseding Information. In exchange for

Defendant's plea, the United States has agreed to dismiss the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering informed

and voluntary pleas,


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      2. That the Defendant is aware of the nature of the charges against him and

consequences of pleading guilty to the charges,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That his guilty pleas are knowing and voluntary pleas, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offenses charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Counts I

and II of the Superseding Information, and that sentence be imposed. I further

recommend that the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 21st day ofNovemb ,



                                             iah C. Lynch
                                          ited States Magistrate Judge



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